
By denying the writ, we point out that writs of certiorari are frequently denied without any consideration of the merits.Haden v. Olan Mills, Inc., 273 Ala. 129, 135 So.2d 388 (1961). A denial of certiorari should never be considered as an expression by the reviewing court on the merits of the controversy. See Hamilton-Brown Shoe Co. v. Wolf Brothers,240 U.S. 251, 36 S.Ct. 269, 60 L.Ed. 629 (1916). Our denial of the writ should not be understood as approving or disapproving the language used, or the statements of law contained in the opinion of the Court of Criminal Appeals, 513 So.2d 54. SeeCooper v. State, 287 Ala. 728, 252 So.2d 108 (1971). We make special reference to the statement in the opinion that "[t]he trial judge committed no abuse of discretion in submitting Ms. Hamilton's testimony to the jury," citing Thompson v. State,374 So.2d 388 (Ala. 1979).
WRIT DENIED.
ALMON, BEATTY, ADAMS and HOUSTON, JJ., concur. *Page 62 